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                       IN THE UNITED STATES DISTRICT COURT                       U.S           V 1 V




                     FOR THE SOUTHERN DISTRICT OF GEORGIA

                                   DUBLIN DIVISION
                                                                            L.

MICHAEL SPRUILL,                             )
                                             )
              Plaintiff,                     )
                                             )
       V.                                    )          CV 320-067
                                             )
JACOB BEASLEY, Deputy Warden; OTIS           )
STANTON; LT ASHLEY; and SRG.                 )
RYALS,                                       )
                                             )
              Defendants.                    )


                                        ORDER




       After a careful, de novo review of the file, the Court concurs with the Magistrate

Judge's Report and Recommendation, to which no objections have been filed. (Doc. no. 6.)

Accordingly, the Court ADOPTS the Report and Recommendation of the Magistrate Judge

as   its opinion, DISMISSES Plaintiffs Eighth Amendment claims for conditions of

confinement, and cruel and unusual punishment without prejudice for failure to state a claim

upon which relief may be granted and DISMISSES Defendant LT Ashley from this case.

The case shall proceed against Defendants as described in the Magistrate Judge’s December

16, 2020 Order. (See doc. no. 8.

       SO ORDERED this             day of Januaiy, 2011, at Augusta, Georgia.




                                          UNITED STATES DISTRICT JUDGE
